                                                                                                                   FILED IN THE
                                                                                                               U.S. DISTRICT COURT
AO 450 (Rev. 11/11) Judgment in a Civil Action                                                           EASTERN DISTRICT OF WASHINGTON




                                         UNITED STATES DISTRICT COURT Mar 03, 2023
                                                                  for the_                                    SEAN F. MCAVOY, CLERK

                                                     Eastern District of Washington
                      CHRISTOPHER R.

                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 2:20-cv-00403-MKD
  KILOLO KIJAKAZI, ACTING COMMISSIONER OF                            )
              SOCIAL SECURITY                                        )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment, ECF No. 15, is DENIED.
’
              Defendant’s Motion for Summary Judgment, ECF No. 16, is GRANTED.
              Judgment is entered in favor of Defendant.



This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge Mary K. Dimke                                                               on motions for
      Summary Judgment


Date: 3/3/2023                                                             CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Brian Molony
                                                                                          (By) Deputy Clerk

                                                                            Brian Molony
